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7

8
                                     UNITED STATES DISTRICT COURT
9
                                    CENTRAL DISTRICT OF CALIFORNIA
10

11

12     SONY INTERACTIVE ENTERTAINMENT                           Case No.: 5:18−cv−02141−JGB−KK
       LLC, a California limited liability company,             MEMORANDUM OF POINTS AND
13                                                              AUTHORITIES IN SUPPORT OF SONY
                            Plaintiff,                          INTERACTIVE ENTERTAINMENT LLC’S
14
                                                                MOTION FOR ENTRY OF DEFAULT
                               v.
15                                                              JUDGMENT

16     ERIC DAVID SCALES (doing business as                     Date: March 18, 2019
       Blackcloak13),
                                                                Time: 9:00 a.m.
17                                                              Dept.: Courtroom 1
             Defendant.
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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S MOTION FOR ENTRY
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1      I. INTRODUCTION
               Defendant Eric David Scales (“Scales”) advertises and sells “jailbroken” PlayStation®4 (“PS4”)
2
       video game consoles on eBay. These “jailbroken” PS4 consoles are loaded with pirated (i.e.,
3
       unauthorized) copies of PS4 video games. Defendant Scales also advertises on his website that he
4
       provides “jailbreaking” services. “Jailbreaking” means circumventing the technological protection
5
       measures that prevent the playing of pirated copies of PS4 video games on PS4 consoles. According to
6
       Defendant, people that own his “jailbroken” PS4 consoles can “stop buying games” because they can
7
       play pirated versions of the PS4 video games that are already loaded on his consoles or that can be
8
       downloaded from the internet.
9
               Defendant’s actions constitute (a) infringement of Plaintiff Sony Interactive Entertainment
10
       LLC’s (“SIE”) copyrights and (b) violations of the “trafficking” provision of the Digital Millennium
11
       Copyright Act, 17 U.S.C. § 1201 (“DMCA”). SIE filed this action on October 5, 2018. Defendant
12
       failed to respond to the Complaint, and the Clerk of this Court accordingly entered the default of
13
       Defendant Scales on December 6, 2018.
14
               SIE now asks the Court to enter a default judgment as follows:
15
               (a) An award to SIE of:
16
                     (i) Statutory damages in the amount of $16,800 pursuant to Section 1203(c)(3)(A) of
17
                     the DMCA;
18
                     (ii) $2,208 for reasonable attorneys’ fees pursuant to Section 505 of the Copyright Act,
19
                     Section 1203(b)(5) of the DMCA, and L.R. 55-3; and
20
                     (iii) Costs in the amount of $1,250 pursuant to Fed.R.Civ.P. 54(d)(1) and L.R. 54-4.
21
               (b) An Order permanently enjoining Defendant from further infringing SIE’s copyrights in PS4
22
       video games and from marketing, offering to sell, or selling on his website, on eBay, elsewhere on the
23
       internet, or anywhere else in the United States, devices, components, products or services that circumvent
24
       SIE’s technological protection measures in PS4 consoles and PS4 video games, and ordering Defendant
25
       to turn over to SIE all “jailbroken” PS4 consoles and pirated PS4 video games in his possession.
26
               Entry of a default judgment as requested by SIE is squarely supported by the facts and the
27
       applicable law.
28


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1      II. FACTUAL BACKGROUND
             A.      SIE, PS4 Consoles, and PS4 Video Games
2
               SIE is a California limited liability company with its principal place of business in San Mateo,
3
       California. SIE markets and sells, among other products and services, PS4 video game consoles and
4
       PS4 video games (i.e., video games compatible with the PS4 console). The PS4 system features a
5
       computer hardware console and an associated handheld controller that consumers can use to, among
6
       other things, play PS4 video games. The PS4 system has enjoyed great success throughout the United
7
       States and around the world. Since the PS4 launched in 2013, over 80 million PS4 consoles have been
8
       sold worldwide. Hundreds of different game titles of PS4 video games are available to play on the PS4
9
       console. Authorized PS4 video games typically sell for prices ranging between about $20.00 and
10
       $60.00 per game. Complaint (“Compl.”) ¶ 4, 6; Declaration of James Y. Leong in Support of SIE’s
11
       Motion for Default Judgment, filed herewith (“Leong Decl.”) ¶ 4.
12
             1.      SIE’s copyrights in PS4 video games
13
               SIE and its Tokyo-based sister company Sony Interactive Entertainment Inc. (“SIEI”) have
14
       produced, published, and distributed hundreds of different titles of PS4 video games. All of these video
15
       games consist of or include large amounts of creative audiovisual material, stories, characters, and
16
       other matter that are wholly original to SIE and SIEI and are subject to copyright. SIE distributes
17
       authorized PS4 games in the United States in a hard disc format and in a digital format. Compl. ¶ 7;
18
       Leong Decl. ¶ 5; Declaration of Timothy Penge in Support of SIE’s Motion for Default Judgment, filed
19
       herewith (“Penge Decl.”) ¶ 4.
20
               The U.S. Copyright Office has issued Copyright Registration Numbers to SIE and SIEI for
21
       numerous PS4 video games, including for the following game titles: (a) HELLDIVERS (U.S. Copyright
22
       Registration No. PA 2117608, registered to SIE); (b) Everybody’s Golf (U.S. Copyright Registration
23
       No. PA 2111899, registered to SIEI); and (c) God of War (U.S. Copyright Registration No. PA
24
       2115052, registered to SIE). SIE owns the copyrights in HELLDIVERS and God of War, and it is the
25
       exclusive licensee of the copyrights in Everybody’s Golf in the United States under a license from
26
       SIEI, and it is authorized by SIEI to bring suit for infringement of those copyrights. (Collectively, the
27
       PS4 video games for which SIE owns, or is the exclusive licensee in the United States of, all copyright
28


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1      rights are sometimes referred to herein as “First-Party PS4 games”). SIE and SIEI have made, and
2      continue to make, substantial investments in the design, development, testing, manufacturing,
3      marketing and distribution of their First-Party PS4 video games. Compl. ¶¶ 7, 23; Leong Decl. ¶ 6 and
4      Exhibits A, B, C.
5              In addition to publishing First-Party PS4 games, SIE has authorized and licensed certain third-
6      party companies to publish PS4 video games (“Third-Party PS4 games”). These third-party publishers
7      have published hundreds of different titles of PS4 video games. SIE is the exclusive authorized
8      distributor in the United States of digital versions of First-Party and Third-Party PS4 video games.
9      Compl. ¶ 8; Leong Decl. ¶ 8.
10             All PS4 video games include copyrighted computer code known as PlayStation® Branding and
11     Notices Software Program Code (“PS Program Code”). The PS Program Code is an original work of
12     authorship constituting copyrightable subject matter. The U.S. Copyright Office has issued Copyright
13     Registration No. TX 8589872 for the PS Program Code to SIEI, and SIEI has granted SIE the
14     exclusive right to use, license, and bring suit for infringement of, SIEI’s copyrights in the PS Program
15     Code in the United States. Compl. ¶¶ 7, 9, 28; Leong Decl. ¶ 9 and Exhibit D.
16           2.      SIE’s Technological Protection Measures
17             Software piracy—the unauthorized copying and use of software—is an industry wide problem

18     that is estimated to cost the software industry millions of dollars in lost revenue every year. To guard

19     against piracy of PS4 video game software, PS4 consoles and PS4 video games are designed and

20     manufactured to include certain technological protection measures (“TPMs”) embodied in the PS4

21     system, including but not limited to the encryption of the video game software. These TPMs

22     effectively prevent a PS4 console from playing any unauthorized, decrypted copy of a video game.

23     The TPMs can be analogized to a gatekeeper: the gatekeeper allows authorized copies of video games

24     to pass, and thus be played, but blocks all unauthorized copies of video games from passing and being

25     played. Compl. ¶¶ 10, 11; Penge Decl. ¶ 3.

26             By using these TPMs, SIE has been able to protect its exclusive rights to copy, sell, distribute

27     and manufacture PS4 video games and to create derivative works. In addition, SIE has been able to

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1      protect its substantial investment in the development, creation, and distribution of the PS4 system and
2      PS4 game software.
3            B.      Defendant’s Unlawful Conduct

4               Defendant has marketed, sold, and distributed “jailbroken” PS4 consoles that are primarily

5      designed or produced for the purpose of, and/or were marketed by Defendant for use in, circumventing

6      the PS4 system’s TPMs. The circumvention takes two forms. One, Defendant’s “jailbroken” PS4

7      consoles contain, on their internal hard drives, unauthorized digital copies of PS4 video games, each of

8      which circumvents the TPMs that protect the genuine PS4 video game with the same title. Two, the

9      “jailbroken” PS4 consoles can be used to make and play copies of other pirated PS4 video games that

10     the owner of the console may be able to download from unauthorized sources on the internet. Compl.

11     ¶¶12, 14, 16; Penge Decl. ¶¶ 6, 9, 12, 15. SIE acquired two of the “jailbroken” PS4 consoles defendant

12     offered for sale through eBay. Compl. ¶¶ 14, 16; Leong Decl. ¶¶ 11, 12, 13, 14 and Exhibits F, G, H,

13     and I.

14           1.      Defendant’s PS4 Console No. 1
                In April 2018, Defendant—under the eBay handle “blackcloak13” —listed for sale on eBay a
15
       “jailbroken” PS4 console that Defendant advertised as a “NEW JAILBROKEN MODDED PS4
16
       console PLUS 63 full games plus 1.” A screenshot of Defendant’s eBay listing in reproduced below:
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       In his eBay listing, Defendant stated that the “Jailbroken Modded PS4 console” is “FULLY
27
       JAILBROKEN/MODDED,” “COMES WITH MY CUSTOM PRINTED DETAILED
28


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1      INSTRUCTIONS,” will enable the purchaser “TO PLAY ANY GAME YOU WANT,” comes with “65
2      GAMES INSTALLED TO GET YOU STARTED,” and “IT’S TIME TO ENJOY ALL GAMES
3      FREE.” In addition, Defendant’s eBay listing highlighted his website at
4      “http://foxhoundoutfitters.wixsite.com/ps3-jailbreak-mods,” through which he advertised that he
5      could be contacted for help with jailbroken consoles. Compl. ¶ 13; Leong Decl. ¶ 11 and Exhibit E.
6             SIE purchased the jailbroken PS4 console described above from Defendant via eBay through an
7      agent in April 2018. A package containing the jailbroken PS4 console, Serial Number MC613975030,
8      was delivered to SIE’s agent bearing the following return name and address: “Eric Scales, 9650
9      Milliken Ave., Apt. 4212, RCH Cucamonga, CA 91730.” Compl. ¶ 14; Leong Decl. ¶ 12 and Exhibits
10     F and G.
11            The hard drive of this PS4 console, Serial Number MC613975030, contains unauthorized digital
12     copies of 68 PS4 video games, including unauthorized copies of PS4 video games titled HELLDIVERS;
13     Everybody’s Golf; EA SPORTS UFC 2; FlatOut4: Total Insanity; and Frozen Free Fall: Snowball
14     Fight. Penge Decl. ¶ 5. Each of these 68 unauthorized copies of PS4 video games contains an
15     unauthorized copy of the PS Program Code. Penge Decl. ¶ 6. The console was modified to enable the
16     user to access and run certain “exploit” software code that, when run on the PS4 console, circumvents
17     the TPMs that are designed to prevent the console from playing unauthorized copies of PS4 video
18     games. The exploit enables this PS4 console sold by Defendant to play the unauthorized copies of the
19     68 PS4 video games that are contained on its hard drive. Penge Decl. ¶ 8.
20            This jailbroken PS4 console, Serial Number MC613975030, also can be used to make digital
21     copies of and to play additional unauthorized PS4 video games that the purchaser may be able to find
22     from unauthorized sources on the internet. Included with the console was a set of instructions that
23     provides, among other things, directions on how to install additional pirated PS4 video games onto the
24     hard drive of this console, as well as a website address to an instructional video on “how to run fake pkg
25     games!” and a website address from which additional unauthorized PS4 video games are available for
26     download to this PS4 console. Compl. ¶ 14; Penge Decl. ¶¶ 9, 10.
27           2.      Defendant’s PS4 Console No. 2
28            In June 2018, Defendant—under the handle “blackcloak13”—listed another “jailbroken” PS4



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1      console for sale on eBay. Defendant advertised this console as a “PlayStation4” with “5.05 firmware
2      plus mod menus plus games.” SIE purchased this PS4 console from Defendant via eBay through an
3      agent. A package containing a PS4 console, Serial Number MB956801546, was delivered to SIE’s
4      agent bearing the following return name and address: “Eric Scales, 9650 Milliken Ave., Apt. 4212,
5      Rancho Cucamonga, CA 91730.” Compl. ¶ 16; Leong Decl. ¶ 13, 14 and Exhibits H and I.
6             The hard drive of this PS4 console, Serial Number MB956801546, contains unauthorized digital
7      copies of eight PS4 video games, including God of War; Call of Duty WWII; Need for Speed Payback;
8      Sniper Elite 4; Sniper Ghost Warrior 3; and The Surge. Penge Decl. ¶ 11. Each of these eight
9      unauthorized copies of PS4 video games contains an unauthorized copy of the PS Program Code. Penge
10     Decl. ¶ 12.
11            This PS4 console also came with written instructions from Defendant similar to those he supplied
12     with Console 1. This PS4 console is capable of making digital copies of, and playing, additional pirated
13     copies of PS4 video games through the use of an exploit in the same manner as Defendant’s PS4
14     Console No.1. Compl. ¶ 17; Penge Decl. ¶¶ 14, 15, 16.
15           3.      Other Illegal Conduct
16            Before and after June 2018, the seller named “ blackcloak 13”—the eBay handle used by

17     Defendant—offered for sale on eBay other PS4 consoles with dozens of PS4 video games installed on

18     them. For instance, in July 2018, the seller “blackcloak13” posted a 5-page eBay advertisement that

19     offered to sell a PS4 console with a “170 GAME COLLECTON” purportedly loaded on its hard drive.

20     In October 2018, the seller “blackcloak13” posted an eBay advertisement that offered to sell a PS4

21     console that purportedly had 59 PS4 video games on its hard drive. Leong Decl. ¶ 15 and Exhibits J

22     and K.

23            In addition to selling jailbroken PS4 consoles loaded with unauthorized PS4 games on eBay,

24     Defendant advertises his products and services, including “PS3/4 jailbreaks,” on a website,

25     http://foxhoundoutfitters.wixsite.com/ps3-jailbreak-mods. On his website, Defendant touts that he has

26     been “jailbreaking and modding game console[s] since 2006” and advises potential customers that

27     “you can purchase from me on eBay from seller blackcloak13.” On Defendant’s website, where he

28     uses the traditional “pirate” symbol of a skull and crossbones, Defendant states that purchasing his



                                                          10
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1      services or products will enable the purchaser to “STOP BUYING GAMES.” Compl. ¶¶ 19-21; Leong
2      Decl. ¶ 16 and Exhibit L.
3       III. THE COURT MAY PROPERLY ENTER DEFAULT JUDGMENT AGAINST
            DEFENDANT SCALES AT THIS TIME
4
               Defendant Scales was properly served with the Complaint on November 2, 2018. He failed to
5
       respond in the time required or at all. Consequently, Defendant’s default was entered by the Clerk of
6
       this Court on December 6, 2018 pursuant to Fed.R.Civ.P. 55(a). Declaration of Monika Pleyer Lee in
7
       Support of SIE’s Motion for Default Judgment (“Lee Decl.”), ¶¶ 4, 5.
8
               The Court may enter a default judgment where the clerk, under Rule 55(a), has previously
9
       entered the party's default based upon failure to plead or otherwise defend the action. Fed.R.Civ.P.
10
       55(b); DR JKL Ltd. v. HPC IT Educ. Ctr., 749 F. Supp. 2d 1038, 1046 (N.D. Cal. 2010).
11
               In Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986), the Ninth Circuit outlined the
12
       following factors the Court may consider in determining whether to grant a default judgment: “(1) the
13
       possibility of prejudice to the plaintiff, (2) the merits of plaintiff's substantive claim, (3) the sufficiency
14
       of the complaint, (4) the sum of money at stake in the action; (5) the possibility of a dispute concerning
15
       material facts; (6) whether the default was due to excusable neglect, and (7) the strong policy
16
       underlying the Federal Rules of Civil Procedure favoring decisions on the merits.”
17
               After default has been entered, the Court takes all factual allegations in the complaint as true,
18
       except for those relating to damages. TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th
19
       Cir.1987). Fed.R.Civ.P. 54(c) requires that a “default judgment must not differ in kind from, or
20
       exceed in amount, what is demanded in the pleadings.”
21
               Plaintiff has fully complied with the requirements of Fed.R.Civ.P., Rules 54 and 55, and Local
22
       Rule L.R. 55-1.1 Lee Decl. ¶¶ 3-9. As demonstrated below, the Eitel factors favor entry of a default
23
       judgment against Defendant Scales as well.
24
               1
25               L.R. 55-1 requires that an application for a default judgment be accompanied by a declaration
       including the following information: “(a) When and against what party the default was entered; (b) The
26     identification of the pleading to which default was entered; (c) Whether the defaulting party is an
       infant or incompetent person, and if so, whether that person is represented by a general guardian,
27
       committee, conservator or other representative; (d) That the Servicemembers Civil Relief Act (50
28     U.S.C. App. § 521) does not apply; and (e) That notice has been served on the defaulting party, if
                                                                                                 (Footnote Continued)


                                                          11
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1       IV. APPLICATION OF THE EITEL FACTORS WARRANTS ENTRY OF A
           DEFAULT JUDGMENT AGAINST DEFENDANT SCALES
2            A.       SIE Would Be Prejudiced if a Default Judgment Were Not Entered
3               In light of the fact that Defendant has failed to appear in this lawsuit, absent a default judgment
4      in this action, SIE will not be compensated for its losses, nor would SIE have the benefit of an injunction
5      ordering Defendant to refrain from further unlawful conduct. SIE would be greatly prejudiced. See, e.g.,
6      Landstar Ranger, Inc. v. Parth Enterprises, Inc., 725 F. Supp. 2d 916 (C.D. Cal. 2010) citing PepsiCo,
7      Inc. v. Cal Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D. Cal 2002) for the proposition that “plaintiff's
8      would have no other recourse for recovery if default judgment was not granted”; see also Amini
9      Innovation Corp. v. KTY Int’l. Mktg., 768 F. Supp. 2d 1049, 1054 (C.D. Cal. 2011) (“If the Court does
10     not enter a default judgment, it will allow Defendant to avoid liability by not responding to Plaintiff's
11     claims.”)
12              Moreover, if this Court were to decline entry of a default judgment against Defendant Scales, it
13     could set a dangerous precedent, allowing the purveyors of pirated PS4 video games and “jailbroken”
14     PS4 consoles to avoid liability by simply not responding to SIE’s claims. Such precedent would
15     encourage other third parties to engage in similar violations of SIE’s intellectual property rights in the
16     future, resulting in further prejudice to SIE. The first Eitel factor – possible prejudice to plaintiff –
17     weighs heavily in favor of entry of a default judgment.
18           B.       The Complaint States Claims Against Defendant for Copyright Infringement
                      and Violation of the DMCA
19
                The second and third Eitel factors, involving the substantive merits of the claim and the
20
       sufficiency of the complaint, likewise support entry of a default judgment. They require that a plaintiff’s
21
       allegations “state a claim upon which [plaintiff] may recover.” DR JKL Ltd. v. HPC IT Educ. Ctr., 749
22
       F. Supp. 2d 1038, 1048 (N.D. Cal. 2010), citing Danning v. Lavine, 572 F.2d 1386, 1388 (9th Cir.
23
       1978).
24
                Upon a defendant’s default, the factual allegations of the complaint, other than those relating to
25
       damages sustained, are deemed admitted. Fed.R.Civ.P. 8(b)(6) (“An allegation—other than one relating
26
       to the amount of damages—is admitted if a responsive pleading is required and the allegation is not
27
       required by Fed.R.Civ.P. 55(b)(2).
28


                                                          12
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 1     denied.”); Televideo Sys., 826 F.2d at 917-18 citing Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th
 2     Cir. 1977).
 3               Here, SIE’s Complaint2 sufficiently states a claim against Defendant for copyright infringement
 4     and violation of the DMCA.
 5           1.       Copyright Infringement, 17 U.S.C. § 501 et seq.
 6            SIE’s Complaint pleads the facts that establish Defendant’s liability for copyright infringement.

 7     Copyright infringement is established by showing “(1) ownership of a valid copyright, and (2) copying

 8     of constituent elements of the work that are original.” Rice v. Fox Broad. Co., 330 F.3d 1170, 1174 (9th

 9     Cir. 2003) (citing Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)). In its Complaint,

10     SIE has alleged that it owns (or is exclusive licensee to) registered copyrights in the PS Program Code

11     and in the PS4 video games titled HELLDIVERS, Everybody’s Golf, and God of War that have been

12     copied onto the hard drives of jailbroken PS4 consoles sold by Defendant without authorization. SIE has

13     also alleged that Defendant, without authorization, copied these video games as well as numerous other

14     video games, each of which contains the copyrighted PS Program Code, unto the “jailbroken” consoles

15     SIE acquired. Compl. ¶¶ 7, 9, 14, 16, 23, 28.

16                              a.     SIE’s Copyright Registrations

17            A certificate of registration made before or within five years after publication of the work is prima
18     facie evidence of copyright validity and of the facts stated in the certificate. 17 U.S.C. § 410(c). SIE
19     owns (or is an exclusive licensee to) registrations of copyrights in three of the PS4 video games copied
20     onto the hard drive of the jailbroken PS4 consoles sold by Defendant, and in the PS Program Code that
21     is contained in every PS4 video game. In particular, as alleged in the Complaint, the following
22     registrations have been issued to SIE or SIEI:
23                  1. Registration No. PA 2117608 for HELLDIVERS; Registration No. PA 2111899
24                  for Everybody’s Golf; and Registration No. PA 2115052 for God of War.
25

26

27           2
            In support of this Motion, SIE also submits declarations that contain evidence supporting the
28 allegations of the Complaint. The declarations are not intended to introduce any new material facts but
   only to provide additional substantiating evidence.


                                                          13
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1                  2. Registration No. TX 8589872 for the PlayStation Branding and Notices
2                  Software Program (“PS Program Code”).
3      Compl. ¶¶ 7, 9, 23, 28; Leong Decl. ¶¶ 6, 9 and Exhibits A, B, C, D.
4               As alleged in the Complaint, the registered PS Program Code is contained in all PS4 video
5      games, including all games loaded onto the “jailbroken” PS4 consoles sold by Defendant. Compl. ¶
6      28; Penge Decl. ¶¶ 4, 6, 12.
7                              b.     Defendant’s Copying
8              SIE’s Complaint establishes Defendant’s copying of the PS4 video games protected by the above
9      copyright registrations and of the copyrighted PS Program Code contained in every PS4 video game.
10     Copying may be established by showing that (1) the infringing party had access to the copyrighted work
11     and (2) the works in question are substantially similar in their protected elements.” Rice, 330 F.3d at
12     1174.
13             The pirated PS4 video games that are copied onto the “jailbroken” PS4 consoles sold by
14     Defendant are not just “substantially similar” to genuine PS4 video games, but they are unauthorized,
15     decrypted copies that are identical to the copyrighted work in the corresponding genuine PS4 video
16     games in that, when played on a “jailbroken” PS4 console, they look and perform in the same way as the
17     genuine, authorized PS4 video games of the same game title. Penge Decl. ¶¶ 6, 12. Defendant
18     advertises and describes the games he copied onto the “jailbroken” PS4 consoles by their official game
19     titles, and they appear on the “jailbroken” consoles in the same manner as genuine, authorized PS4 video
20     games of the same title. Compl. ¶¶ 13, 18; Penge Decl. ¶¶ 7, 13.
21             “Access” to the PS4 video games is ubiquitous. Genuine, authorized versions can be purchased
22     online via digital download from SIE or in the form of discs from many sources through the internet or
23     at brick and mortar retail stores. Leong Decl. ¶ 2. In addition, Defendant provided instructions with the
24     “jailbroken” PS4 consoles that he sold, which identify where to find unauthorized digital versions of
25     PS4 video games, and explain how to download (i.e., copy) them onto the “jailbroken” consoles sold by
26     Defendant. Penge Decl. ¶¶ 10, 16. This demonstrates that Defendant knew how to access and copy the
27     copyrighted PS4 video games and the copyrighted PS Program Code, even though Defendant had no
28     authorization to copy any of these games or to copy the PS Program Code contained in each of them.


                                                          14
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1            2.      Violation of the DMCA, 17 U.S.C. § 1201 et seq.
               In MDY Industries, LLC v. Blizzard Entertainment, Inc., 629 F.3d 928 (9th Cir. 2010), the court
2
       engaged in a thorough analysis of sections 1201(a) and (b) of the DMCA and concluded “that section (a)
3
       creates a new anticircumvention right distinct from copyright infringement, while section (b) strengthens
4
       the traditional prohibition against copyright infringement.” Id. at 948. Citing the Senate Judiciary
5
       Committee report (S.Rep. No. 105-190, at 12 (1998)), the court confirmed that § 1201(a)(2) “is designed
6
       to protect access to a copyrighted work,” whereas § 1201(b)(1) “is designed to protect the traditional
7
       copyright rights of the copyright owner.” Id. at 946-47.
8
               Consequently, 17 U.S.C. § 1201(b) “reinforce[s] copyright owners' traditional exclusive rights
9
       under § 106 by granting them an additional cause of action against those who traffic in circumventing
10
       devices that facilitate infringement.” Its “prohibition is thus aimed at circumventions of measures that
11
       protect the copyright itself: it entitles copyright owners to protect their existing exclusive rights under the
12
       Copyright Act. Those exclusive rights are reproduction, distribution, public performance, public display,
13
       and creation of derivative works.” Id. at 944-45.
14
               SIE brings its claim under 17 U.S.C. § 1201(b)(1). By its terms this section prohibits the
15
       marketing or trafficking in devices, products or components primarily designed or produced for the
16
       purpose of circumventing “protection afforded by a technological measure that effectively protects a
17
       right of a copyright owner under this title in a work or a portion thereof.” To “circumvent protection
18
       afforded by a technological measure” means “avoiding, bypassing, removing, deactivating, or otherwise
19
       impairing a technological measure.” 17 U.S.C. § 1201(b)(2)(A). A technological measure “effectively
20
       protects a right of a copyright owner” if, “in the ordinary course of its operation,” it “prevents, restricts,
21
       or otherwise limits the exercise of a right of a copyright owner under this title.” 17 U.S.C. §
22
       1201(b)(2)(B).
23
               In the ordinary course the Technical Protection Measures, or TPMs, intrinsic to the PS4 System
24
       effectively protect SIE’s copyright rights, including the right to distribute copyrighted PS4 video games
25
       that are playable, by preventing unauthorized copies of PS4 video games from being played on genuine
26
       PS4 consoles. Compl. ¶ 11; Penge Decl. ¶ 3.
27
28


                                                          15
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 1               Defendant’s “jailbroken” PS4 consoles are designed to, and do, circumvent these TPMs. Compl.
 2     ¶¶ 15, 17; Penge Decl. ¶¶ 6, 8, 12, 14. The “jailbroken” PS4 consoles that Defendant sells are loaded
 3     with unauthorized PS4 video games that cannot be played on genuine PS4 consoles but require the
 4     jailbroken consoles that Defendant sells. By loading the unauthorized PS4 video games onto jailbroken
 5     PS4 consoles, Defendant made the unauthorized games playable3 and thereby created products that
 6     circumvent the TPMs installed by SIE. Compl. ¶¶ 12, 14, 17, 29, 33; Penge Decl. ¶¶ 8, 12.
 7               Each unauthorized PS4 video game, once loaded onto the “jailbroken” PS4 console, is a separate
 8     product that circumvents the TPMs that, in the ordinary course, effectively protect SIE’s exclusive right
 9     to control the distribution of playable digital versions of that particular PS4 video game. Compl. ¶¶ 29,
10     33. For instance, the unauthorized copy of Everybody’s Golf on Defendant’s PS4 Console No.1 is a
11     circumventing product that Defendant created and sold by combining an unauthorized copy of
12     Everybody’s Golf with Console No. 1. In this manner, Defendant sold and distributed a playable version
13     of Everybody’s Golf that avoids and bypasses the TPMs that are designed to protect SIE’s exclusive
14     right to control the distribution of digital versions of Everybody’s Golf. The same is true for each of the
15     other unauthorized PS4 video games loaded on Defendant’s PS4 Console Nos. 1 and 2.
16               As further alleged in the Complaint, Defendant advertises his products (and services) as enabling
17     the purchaser “TO ENJOY ALL GAMES FREE.” Compl. ¶ 13. The instructions that Defendant
18     provides with the “jailbroken” PS4 consoles he sells explain how the consoles can be used to “run fake
19     pkg4 games” and how to locate and install additional unauthorized games onto the consoles. Compl. ¶¶
20     13, 14, 17; Penge Decl. ¶¶ 10, 16.
21               Defendant’s declared purpose in selling the “jailbroken” PS4 consoles is to provide a machine
22     that circumvents TPMs installed by SIE and allows the playing – not only of the games loaded onto the
23     consoles – but of additional digital copies of other unauthorized PS4 video games, in direct violation of
24

25           3
             The capability of a PS4 video game to be played is, of course, essential to making the game
26 useful to the owner. A copy of a game that is not playable – because the TPMs prevent it from playing
   on a genuine PS4 console – has no value. A playable version of a video game is materially different
27 from a version that cannot be played and constitutes a different product.
28
           4
              A “fake pkg” lacks the digital signatures that are required to run on a genuine, non-exploited,
   non-jailbroken PS4 console.


                                                          16
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1      17 U.S.C. § 1201(b)(1). Compl. ¶¶ 19, 20, 21; Leong Decl. ¶ 15 and Exhibit L. The “jailbroken”
2      consoles themselves function as circumvention devices that make it possible for purchasers of the
3      consoles to create playable versions of additional pirated PS4 games by finding unauthorized digital
4      copies of such games and loading them onto the jailbroken consoles. Compl. ¶¶ 12, 15, 17; Penge Decl.
5      ¶¶ 9, 15.
6            C.      The Amount of Money at Stake

7              The fourth Eitel factor, the sum of money at stake, also favors entry of a default judgment. By

8      selling, and offering to sell, unauthorized PS4 video games that are installed on “jailbroken” consoles

9      and thereby made playable so as to bypass the TPMs installed by SIE, Defendant has caused SIE to

10     lose potential sales of the genuine versions of these PS4 games. Defendant’s failure to appear in this

11     action and SIE’s consequent inability to take discovery has prevented SIE from establishing the full

12     extent such losses.

13             As discussed in more detail below, SIE therefore requests statutory damages for Defendant’s

14     violation of the DMCA in a total amount of $16,800 as compensation for losses incurred, as a

15     punishment for Defendant’s willful conduct, and as a deterrent to future violations of the DMCA by

16     Defendant and others. This amount is warranted in light of Defendant’s willful infringement and

17     violations of the DMCA, his refusal to appear in this action, and his acknowledged understanding and

18     intent that his products be used to deprive SIE of the opportunity to sell genuine PS4 video games to

19     Defendant’s customers by enabling them to play free, unauthorized versions of PS4 video games. SIE

20     also seeks attorneys’ fees and costs in the amount of $3,458.
             D.      No Possibility of a Dispute Concerning Material Facts
21
               There is no information before the Court concerning a possible dispute of material fact.
22
       Defendant has not appeared in this action and, upon entry of default, the well-pleaded factual allegations
23
       in the Complaint are accepted as true. See Wecosign, Inc. v. IFG Holdings, Inc., 845 F. Supp. 2d 1072,
24
       1082 (C.D. Cal. 2012) (“Where a plaintiff has filed a well-pleaded complaint, the possibility of [a]
25
       dispute concerning material facts is remote.”).
26
             E.      Default Was Not the Result of Excusable Neglect
27
               Defendant’s default in this matter was not due to excusable neglect. Defendant was served by
28


                                                          17
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1      substituted service on November 2, 2018. Lee Decl. ¶ 4 and Proof of Service (ECF # 11). Defendant
2      failed to answer or otherwise respond. On December 5, 2018, SIE then served the Request for Entry
3      of Default to the addresses where service of process was effected. Lee Decl. ¶ 5. Defendant again
4      failed to appear, and the Clerk entered his default on December 6, 2018. Lee Decl. ¶ 6.
5               F.     The Policy Favoring Decisions on the Merits Does Not Outweigh Plaintiffs’
                       Right to Relief
6
                 Any policy in favor of deciding cases on the merits does not outweigh SIE’s right to relief in this
7
       matter. Defendant had every opportunity to defend himself in this action against SIE’s serious
8
       allegations. Plaintiff has presented well pled allegations and supporting declarations that demonstrate the
9
       merits of SIE’s case. Depriving SIE of judgment because Defendant chose not to defend against this
10
       action would not favor a decision on the merits but would condone defendant’s refusal to appear and
11
       would signal to infringers and sellers of circumvention devices that they can avoid the consequences of
12
       their unlawful conduct by simply ignoring the legal process. At the same time, SIE would be further
13
       prejudiced by being deprived of all remedies.
14
        V. REMEDIES
15               In accordance with Fed.R.Civ.P. 54(c), SIE seeks only those remedies requested in the
16     Complaint, consisting of statutory damages, a permanent injunction, and reasonable attorney’s fees and
17     costs.
18              A.     Permanent Injunction
19               The Copyright Act provides that a court “may . . . grant temporary and final injunctions on such

20     terms as it may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C. §

21     502(a). Under 17 U.S.C. § 503(b), the Court may order the destruction of copies found to have been

22     made or used in violation of a copyright owner's rights; 17 U.S.C. 1203(b)(1) and (2) provides the

23     same remedies in the case of violations of the DMCA. Parties obtaining a permanent injunction

24     ordinarily must satisfy a four-part test: (1) irreparable harm; (2) lack of adequate remedies at law; (3)

25     the balance of hardships weighs in its favor; and (4) the injunction is in the public's interest. See eBay

26     Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). SIE meets this test.

27              1.     Public Interest

28               “[T]he public has a compelling interest in protecting copyright owners' marketable rights to



                                                          18
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1      their work and the economic incentive to continue creating” such works. WPIX, Inc. v. ivi, Inc., 691
2      F.3d 275, 287 (2d Cir. 2012) (citing Golan v. Holder, 565 U.S. 302, 328 (2012)). “Since Congress has
3      elected to grant certain exclusive rights to the owner of a copyright in a protected work, it is virtually
4      axiomatic that the public interest can only be served by upholding copyright protections and,
5      correspondingly, preventing the misappropriation of the skills, creative energies, and resources which
6      are invested in the protected work.” Apple Comput., Inc. v. Franklin Comput. Corp., 714 F.2d 1240,
7      1255 (3rd Cir. 1983).
8              Consequently, as “a general rule, a permanent injunction will be granted when liability has
9      been established and there is a threat of continuing violations.” MAI Sys. Corp. v. Peak Comput.,
10     Inc., 991 F.2d 511, 520 (9th Cir. 1993) (citing Nat'l Football League v. McBee & Bruno's, Inc., 792
11     F.2d 726, 732 (8th Cir. 1986)); see also Microsoft Corp. v. Nop, No. Civ. S-07-1276 MCE DAD, 2008
12     U.S. Dist. LEXIS 18727, at *9-10 (E.D. Cal. March 11, 2008) (holding that a permanent injunction is
13     warranted when there is no reason to believe that the infringing party has or will cease the
14     infringement without an injunction); Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D. Cal.
15     2003)(same).
16             SIE has established Defendant Scales’s liability and the threat of continuing violations. See
17     section II.B, supra.
18           2.       Irreparable Harm and Lack of Adequate Remedies at Law
19             Defendant’s marketing of PS4 consoles preloaded with numerous unauthorized copies of PS4

20     games that Defendant then sold to the public undermines the value of SIE’s copyrights in those games

21     and is detrimental to SIE’s goodwill and negotiating leverage with licensees. See, e.g., Disney Enter’s. v.

22     VidAngel, Inc., 869 F.3d 848, 866 (9th Cir. 2017)(finding irreparable harm since VidAngel’s “service

23     undermines the value of the Studios’ copyrighted works, their ‘windowing’ business model, and their

24     goodwill and negotiating leverage with licensees”).

25             Defendant’s sales of pirated PS4 games loaded onto “jailbroken” PS4 consoles also directly

26     deprived SIE of the profits it would have earned from the sale of genuine versions of some or all of these

27     PS4 games. See, e.g., eBay, Inc. v. Bidder's Edge, Inc., 100 F.Supp.2d 1058, 1066 (N.D.Cal.2000)

28     (“Harm resulting from lost profits and lost customer goodwill is irreparable because it is neither easily



                                                          19
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 1     calculable, nor easily compensable and is therefore an appropriate basis for injunctive relief.”)
 2             Defendant’s refusal to appear in this action is a strong indication that he expects to continue his
 3     illegal conduct and further warrants entry of a permanent injunction. See, e.g., Warner Bros. Entm’t,
 4     Inc. v. Caridi, 346 F. Supp. 2d 1068, 1073 (C.D. Cal. 2004) (granting permanent injunction as part of
 5     default judgment in copyright infringement action because, due to defendant’s non-appearance, “there is
 6     a threat of continuing violations [and thus] a permanent injunction is warranted”)
 7           3.      Balance of Hardships
 8             The balance of hardships is in SIE’s favor since the injunction SIE seeks would only prevent

 9     Defendant from engaging in unlawful conduct. To the extent that such prevention would harm

10     Defendant, this Court should not take it into account. See Triad Sys. Corp. v. Southeastern Exp. Co., 64

11     F.3d 1330, 1338 (9th Cir.1995) (defendant “cannot complain of the harm that will befall it when

12     properly forced to desist from its infringing activities”); see also Cadence Design Sys., Inc. v. Avant!

13     Corp., 125 F.3d 824, 830 (9th Cir. 1997) (holding that it was reversible error for a district court to even

14     consider “the fact that an injunction would be devastating to [defendant's] business”).

15           In the Complaint, SIE prays that Defendant and his agents, servants, employees, successor and

16 assigns, and all other persons acting in concert with Defendant be permanently enjoined from:

17                   a.   marketing, offering, selling, transferring, advertising, promoting, developing,

18                   manufacturing, importing, providing or otherwise trafficking in any products that

19                   infringe or contribute to the infringement of SIE’s intellectual property rights, including

20                   its copyrights in PS4 video games and the PS Program Code, or to participate in or

21                   facilitate any such activity;

22                   b.   directly or indirectly infringing, or enabling or contributing to infringement of, any

23                   copyright that SIE owns or is the exclusive licensee of, including copyrights in First-

24                   Party PS4 games and in the PS Program Code;

25                   c.   marketing, offering, selling, transferring, advertising, promoting, developing,

26                   manufacturing, importing, providing or otherwise trafficking in – via eBay, the website

27                   http://foxhoundoutfitters.wixsite.com/ps3-jailbreak-mods or any other means or

28                   channels –any products or services produced or designed to circumvent the



                                                          20
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1                     technological measures that SIE employs to protect its exclusive copyright rights in or
2                     to PS4 video games and the PS Program Code, including, but not limited to, (1)
3                     “jailbroken” or “modded” PS4 consoles, and (2) jailbreaking or “modding” services;
4                     d. infringing SIE’s rights under the Copyright Act, 17 U.S.C. § 501 et seq.; and
5                     e. violating SIE’s rights under the Digital Millennium Copyright Act, 17 U.S.C. §§
6                     1201 – 1205.
7      Compl., Prayer § 2. SIE now asks that the default judgment to be entered by this Court include a
8      permanent injunction with these terms.
9            B.       Damages

10               SIE respectfully asks the Court to award statutory damages of $16,800 for Defendant’s violations

11     of the DMCA5. Due to Defendant’s default, SIE has been prevented from taking discovery to ascertain

12     the full extent of Defendant’s unlawful acts and, therefore, lacks the data and information to identify

13     actual damages or Defendant’s unlawful profits. “Statutory damages are particularly appropriate in a

14     case, such as this one in which [the] defendant has failed to mount any defense or to participate in

15     discovery, thereby increasing the difficulty of ascertaining plaintiff’s actual damages." Jackson, supra,

16     255 F. Supp. 2d 1at 1101.

17               A plaintiff suing for violation of the DMCA may, “[a]t any time before final judgment is entered,

18     … elect to recover an award of statutory damages for each violation of section 1201 in the sum of not

19     less than $200 or more than $2,500 per act of circumvention, device, product, component, offer, or

20     performance of service, as the court considers just.” See 17 U.S.C. § 1203(c)(3)(A).

21               SIE requests statutory damages based on a rate of $800 for each of the two “jailbroken” consoles

22     sold by Defendant to SIE’s agents (i.e., $1,600 for these two sold “circumvention devices”), and of $200

23     for each of the 76 pirated PS4 video games that Defendant combined with, and loaded onto, a

24     “jailbroken” console (i.e., $15,200 for the 76 “circumvention products” that Defendant sold), for a total

25     of $16,800.

26               The rate of $800 per circumvention device previously has been found reasonable in a case

27     involving devices designed to circumvent the TPMs in the PlayStation®2 (“PS2”) console systems. See

28           5
                 SIE does not seek damages herein for Defendant’s copyright infringement.


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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S MOTION FOR ENTRY
      OF DEFAUL JUDGMENT Case No.:5:18−cv−02141−JGB−KK
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1      Sony Comput. Entm’t Am., Inc. v. Filipiak, 406 F. Supp. 2d 1068, 1075 (N.D. Cal. 2005) (court awarded
2      DMCA statutory damages of $800 per circumvention device consisting of “mod chips” or “HDLoader
3      software” that could be used to modify PS2 consoles so as to allow unauthorized copies of PS2 video
4      games to be made and played on the PS2 console); accord Sony Comput. Entm’t Am., Inc. v. Divineo,
5      Inc., 457 F. Supp. 2d 957, 967 (N.D. Cal. 2006) (same). The circumvention devices at issue in Filipak
6      and Divineo were the functional equivalent of the “jailbroken” consoles Defendant sold to SIE.
7              Here, Defendant sold and distributed not only “jailbroken” consoles (devices designed to play
8      unauthorized copies of PS4 video games), but also numerous (76) unauthorized digital copies of PS4
9      video games already loaded onto these consoles and ready to play. This greatly increased the damage to
10     SIE by making available to Defendant’s customers ready-to-play games, each of which directly, and
11     without any further effort by Defendant’s customers, circumvents the TPMs that were designed to
12     protect SIE’s exclusive right to distribute digital copies of PS4 games in the United States.
13             Each of the 76 unauthorized PS4 games loaded onto the PS4 consoles sold by Defendant
14     circumvents the TPMs that, in the ordinary course, protect the genuine PS4 game of the same title from
15     unlawful copying and distribution. Consequently, each game is a separate circumvention product that
16     violates the DMCA and gives rise to a separate statutory damages award. See 17 U.S.C. §
17     1203(c)(3)(A)(“not less than $200 or more than $2,500 per act of circumvention, device, product,
18     component, offer, or performance of service”). SIE requests that the Court award the minimum
19     statutory amount of $200 per PS4 game for each of these separate circumvention products sold by
20     Defendant, for a total of $15,200 for 76 games.
21             The total amount of statutory damages requested by SIE is $16,800. This is eminently
22     reasonable, particularly since SIE has not included in its request any damages based on Defendant’s July
23     2018 offer on eBay to sell a jailbroken PS4 console with a “170 game collection” or based on the
24     Defendant’s October 2018 offer on eBay to sell a PS4 console with 59 games (see Leong Decl. ¶ 15 and
25     Exhibits J and K), or any other consoles, games or circumvention services that Defendant sold or
26     offered to the public on Defendant’s website, on eBay, or otherwise.
27             Significantly higher amounts of statutory damages are often awarded. See, e.g., Craigslist, Inc.
28     v. Naturemarket, Inc., 694 F. Supp. 2d 1039, 1064 (N.D. Cal. 2010) (using $1,000 statutory damage


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1      multiplier for each of the 470 devices sold, which consisted of “CraigsList AutoPoster Professional,” a
2      software program that allowed users to post ads automatically to the craigslist website in violation of
3      craigslist’s terms of use, for a total award of $470,000); see also Craigslist, Inc. v. Kerbel, 2012 U.S.
4      Dist. LEXIS 108573 *13 (N.D.Cal. Aug. 2, 2012) (damages based on defendant's advertising of at least
5      1,000 offers of circumvention software on his website multiplied by $200, for a total of $200,000);
6      Stockwire Research Grp., Inc. v. Lebed, 577 F. Supp. 2d 1262 (S.D. Fla. 2008) (awarding $200 for each
7      of the 11,786 occasions on which the “Unauthorized Product” created by defendant was viewed on the
8      internet, for a total award of $2,357,200).
9                Due to Defendant’s failure to appear and defend in this action, SIE has been prevented from
10     discovering the full extent of Defendant’s DMCA and copyright violations. The amount SIE now
11     requests is likely significantly below the total actual or statutory damages that would be recoverable had
12     SIE been able to take discovery.
13             C.      Attorneys’ Fees and Costs

14               Both the Copyright Act and the DMCA provide for attorneys’ fees to be awarded to the

15     prevailing party. See 17 U.S.C. § 505 and 17 U.S.C. § 1203(b)(5). As the prevailing party SIE requests

16     attorneys’ fees in the amount of $2,208 pursuant to L.R.55-3. See Lee Decl. ¶ 10. In addition, SIE seeks

17     costs of $1,250 pursuant to Fed.R.Civ.P. 54(d)(1) and L.R. 54-4. See Lee Decl. ¶ 11.

18      VI.          CONCLUSION
                 For the foregoing reasons and in the manner set forth above, the Court should grant SIE’s
19
       Motion for Entry of Default Judgment against Defendant Scales and enter judgment awarding damages
20
       totaling no less than $16,800, the requested injunctive relief, and attorneys’ fees and costs totaling
21
       $3,458.
22

23            Dated: February 22, 2019                LEE LAW OFFICES

24                                                           /s/Monika Pleyer Lee
                                                      Monika Pleyer Lee
25                                                    Attorneys for Plaintiff
26                                                    Sony Interactive Entertainment LLC

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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S MOTION FOR ENTRY
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